                                                  Case 6:19-bk-00046-KSJ           FORM 1
                                                                                    Doc 39  Filed 08/23/19                        Page 1 of 1                      Page No:     1
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                ASSET CASES

Case No.:                     19-00046                                                                                                  Trustee Name:                           Gene T. Chambers
Case Name:                    BHARRAT, SURUJNAUTH T AND BHARRAT, LILAWATTI                                                              Date Filed (f) or Converted (c):        01/04/2019 (f)
For the Period Ending:        06/30/2019                                                                                                §341(a) Meeting Date:                   02/08/2019
                                                                                                                                        Claims Bar Date:                        10/31/2019
                                 1                                     2                              3                           4                        5                                        6

                      Asset Description                             Petition/                Estimated Net Value               Property              Sales/Funds               Asset Fully Administered (FA)/
                       (Scheduled and                             Unscheduled               (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                  Unscheduled (u) Property)                          Value                         Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                           Less Liens, Exemptions,
                                                                                              and Other Costs)

Ref. #
1      REAL ESTATE - 2133 KORAT LANE,                     $252,486.00                                     $252,486.00                                           $0.00                                   $252,486.00
       MAITLAND, FL 32751
Asset Notes:  TRUSTEE INTENDS TO PURSUE A SHORT SALE THROUGH BK GLOBAL.
2        2009 NISSAN ALTIMA (VIN:                                      $3,606.00                                 $0.00                                          $0.00                                             FA
         1N4AL21E69N458553)
3        2005 NISSAN ALTIMA (VIN:                        (u)           $1,600.00                                 $0.00                                          $0.00                                             FA
         1N4AL11D75C132347)
4        2003 FORD 150 XL STX (VIN:                      (u)           $2,000.00                                 $0.00                                          $0.00                                             FA
         1FTRX17W73NA77877)
5      JON BOA ALUMINUM OUTBOARD                (u)                         $0.00                                $0.00                                          $0.00                                             FA
       BOAT (VIN: FLZS9417J500)
Asset Notes:  BOAT IS UNUSABLE DUE TO SEVERE LEAKS
6        HOUSEHOLD GOODS                                 (u)            $950.00                                  $0.00                                          $0.00                                             FA
7        2 TVs                                           (u)            $150.00                                  $0.00                                          $0.00                                             FA
8        CLOTHES                                         (u)               $50.00                                $0.00                                          $0.00                                             FA
9        JEWELRY                                         (u)            $255.00                                  $0.00                                          $0.00                                             FA
10       CASH                                            (u)               $20.00                                $0.00                                          $0.00                                             FA
11       CHECKING ACCOUNT - PNC BANK                     (u)           $2,576.56                                 $0.00                                          $0.00                                           $0.00


TOTALS (Excluding unknown value)                                                                                                                                                    Gross Value of Remaining Assets
                                                                    $263,693.56                           $252,486.00                                            $0.00                                  $252,486.00



Major Activities affecting case closing:
 06/17/2019      STEVEN M. VANDERWILT CPA EMPLOYED AS ACCOUNTANT
 05/20/2019      M. E. HENKEL, P.A. EMPLOYED AS SPECIAL REAL ESTATE COUNSEL.


Initial Projected Date Of Final Report (TFR):   12/31/2019                        Current Projected Date Of Final Report (TFR):       12/31/2019               /s/ GENE T. CHAMBERS
                                                                                                                                                               GENE T. CHAMBERS
